UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                     Order of Restitution

               v.

WAYNE FRANKLYN CHINN,                                       Docket No. 19 Cr. 915 (VM)

                       Defendant.

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       Upon the application of the United States of America, by its attorney, Damian Williams,

United States Attorney for the Southern District of New York, Olga I. Zverovich, Assistant

United States Attorney, Nanette Davis and Sean Green, Special Assistant United States

Attorneys, of counsel; the presentence report; the Defendant’s conviction on Count One of the

above-referenced one-count Information; and all other proceedings in this case, it is hereby

ORDERED that:


       1.      Amount of Restitution

       WAYNE FRANKLYN CHINN, the Defendant, shall pay restitution in the total amount of

$789,219, pursuant to 18 U.S.C. § 3663, to the victim of the offense charged in Count One, as set

forth below. Upon advice by the United States Attorney’s Office of a change of address of a

victim, the Clerk of the Court is authorized to send payments to the new address without further

order of this Court.

               A.      Joint and Several Liability

       Restitution is not joint and several with other defendants or with others not named herein.
       2.      Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the Defendant, including whether any of these assets are jointly controlled; projected

earnings and other income of the Defendant; and any financial obligations of the Defendant;

including obligations to dependents, the Defendant shall, in the interest of justice, pay restitution

in installments pursuant to 18 U.S.C. § 3572(d)(1) and (2) as follows:

       (1) The Defendant shall commence monthly installment payments in an amount of at least

15 percent of the Defendant’s gross income, including Social Security payments, payable on the

first day of each month, starting immediately upon entry of this judgment or upon the Defendant’s

release from prison if the Defendant is sentenced to a term of incarceration; and

       (2) While serving the term of imprisonment, the Defendant shall make installment

payments toward his restitution obligation, and may do so through the Bureau of Prisons’ (“BOP”)

Inmate Financial Responsibility Plan (“IFRP”). Pursuant to BOP policy, the BOP may establish

a payment plan by evaluating the Defendant’s six-month deposit history and subtracting an amount

determined by the BOP to be used to maintain contact with family and friends. The remaining

balance may be used to determine a repayment schedule. BOP staff shall help the Defendant

develop a financial plan and shall monitor the Defendant’s progress in meeting his restitution

obligation. Any unpaid amount remaining upon release from prison will be paid in installments

of at least 15 percent of the Defendant’s gross income on the first day of each month.

       3.      Payment Instructions

       The Defendant shall make restitution payments by certified check, bank check, money

order, wire transfer, credit card or cash. Checks and money orders shall be made payable to the

“SDNY Clerk of the Court” and mailed or hand-delivered to: United States Courthouse, 500 Pearl

Street, New York, New York 10007 - Attention: Cashier, as required by 18 U.S.C. § 3611. The
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Defendant shall write his name, Social Security number, and the docket number of this case on

each check or money order. Credit card payments must be made in person at the Clerk’s Office.

Any cash payments shall be hand delivered to the Clerk’s Office using exact change, and shall not

be mailed. For payments by wire, the Defendant shall contact the Clerk’s Office for wiring

instructions.

       The Clerk’s Office shall forward all restitution payments to the victim in this case, the

Internal Revenue Service (“IRS”), at the below address within 30 days of receiving said payments

from the Defendant:

       IRS - RACS
       Attn: Mail Stop 6261, Restitution
       333 W. Pershing Ave.
       Kansas City, MO 64108

       The Clerk’s Office shall ensure that the Defendant’s name, Social Security number, and

the docket number of this case are indicated on the payment prior to forwarding the payment to

the IRS.

       4.       Additional Provisions

       The Defendant shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Unit) of (1) any change of the Defendant’s name, residence, or mailing address or (2) any material

change in the Defendant’s financial resources that affects the Defendant’s ability to pay restitution

in accordance with 18 U.S.C. § 3664(k). If the Defendant discloses, or the Government otherwise

learns of, additional assets not known to the Government at the time of the execution of this order,

the Government may seek a Court order modifying the payment schedule consistent with the

discovery of new or additional assets.


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SO ORDERED:
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